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1.chms'rj)`19.$v6|)sz
TNW Peters, Freddie

 

 

VOUCHER NUMBER

 

 

 

 

 

3.MAG.DKTJDEF.NUMBER 4.ms'r.DKTJnEF.NUMBER 5.APPEALS nKTJDEF.NUMBER v _ s.orm-: _,.NUM_BER
2:02-020027-001 1..;;,, ;:___i _- n g

7. IN CAsE/MMTER OF (cm N.m\-.) s. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED 10. E}EFIFESE:~STA}TION TYPE
`ee nltr to s < .
U.S. v. Petel's Felony Adult Def`endant Tj-'; =.:"_L`§Othé`r 'E""'i 2 <..;. '

 

ll. UFFENSE(S) CH ARGED (Citc U.S. Code, Titlc & S¢:ctiorl)

l|' more then unc offense,

l) 18 287.F ~- FALSE OR FRAUDULENT CLAIMS

list (up to llve) major ul‘l‘uurs chlrged, recordlng \u severity ol’ol'l'cnse.

 

  

‘1'§. ;'): ‘;‘11-

 

12. A'ITORNEY'S NAME g|rst Namc, M.I., Llst Name. |nc|l.tdlng my lull`lx]
AND MA[LING ADDRE S

Durand, Kemper

29th Floor, One Commerce Sq.
40 South Main St.

Memphis TN 38103-5529

Tr|cplmnc Numher: £901} 525'6722

 

ll COURT ORDER

O .»\ppolut|ng Co\tnscl
:] F Snbs For Fedcrll Dcl'endcr
D P Subs Fnr l‘nne| Attorney

Frlor At!nrncy'l Nlmc:

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|*.'*l!~? :’ -‘i‘“:i`v
CoToun£-c£v’ th
U R Suhs For Retnln¢d Attorney
l] Y StlndhyCourtsel

d tit o `ilQ`

  

 

Appolntmeut Date:

 

ij Bcc.luse the above-named
‘ shed lhls court that he or she (l) ll llnanclnlly

 
 

 

CATEGORIES (Altacli itcmizatlon ol’scrvlces with dates)

14. NAME AND MAIL[NG ADDRESS UF LAW Fl'RM (on[y provide per |nstructlons)

n 1 m wach counse|, lnd because the interests
. ‘ \

  
  

person represenlcd hls testified under oath or has

» 12 ls appointed lo represent this person ln lhls case,

unable to employ cwnscl end
nfjustlce so requlre. the

 

 
  

04/7 9/')()(]5

 

rlme ofappo|ntmcnt. l:] YES

l]NO

MATH!I'ECH
ADJUSTED
HOURS

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a. Arraignment and/or Plea

 

b. Ball and Dctention Hearings

 

c. Motion Hearings

 

d. Trial

 

e. Sentencing Hearings

 

l'. Revocatiou Hearings

 

r`-¢=an =l’_‘

g. Appeals Court

 

h. ()rher [Speclfy on additional sheets)

 

 

(Ratc per hour = $ ) TOTALS:

 

u. lmervlews and Conl`erences

 

 

b. Obtaining and reviewing records

 

c. Legal research and brief writing

 

d. Travel time

 

e. lnvestlgatlve and Other work (sp¢¢lry nn manion-l mem

 

(Ratc per hour ~= $ ) TOTALS:

 

Travel Expenses (lodging, parking, meals, mileagc, ctc.)

 

 

Othel' Expenses (othcr than cxpcrt, transcripts, etc.)

FR()M TO

19. CF.RTI'FICAT!ON OF A"ITORNEYIPAYEE FOR THE PERIOD O F SERV'ICE

 

 

o 'resldlng Judlt:lal Ol'l'lt:cr or B}Qrdcr u|' llle Collrt

Dl\lc Ordcr Nunc Pro Tunc Dltc
or plrllal repayment ordered from thc person represented l'm* this s ervch at

MATH!I`ECH
ADJUSTED
AMO UNT

ADD[TIONAL
REVIEW

 

 

 

 

 

20. APPOINTMENT TERMINATION DATE
IF OTHER THA.N CASE COMPLETION

 

 

21. CASE DISPOSITION

 

 

22.

C LAI'M STATUS m Flnl.l Ply'ment

Other than l'rnm the eourt, have you. or tuyour knowledge lnl anyone els e, received
rcprelenletlon’.’ I:] 5 NO
[swoar orallirm thc truth or correctness of the above statements.

Slgna!ure ol'A|torney:

   

 

 

 

23. lN COURT COMP. 14. OUT OF COURT COMP.

    

l:l Inccrlm Psyment Nuniber ___
H\ve you previously upp|led to the court for compensallun nod/or remlmbursement for tllls cue?

ll’yes. give detall: on addli[onel sheet

25. TRAVEL EXPENSES

l:\ Snpplementa| l'uymenl
[:l YES Ii'yes, were you paid'.’

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.l.

Dlre.‘

U\"ES [l NO

 

 

         
 

   

26. O'I`HER EXPENSES

27'. TOTAL AMT. APPR f CERT

 

 

28. SIGNATURE OF THE PRES[DING JUD[CIAL OFFICER

DATE

ZBl. JUDGE l MAG. JUDGE CODE

 

29. IN C()URT C(]MP. 30. ()UT OF COURT COMP.

 

 

Jl. TRAVEL EXPENSES

32. OTHER EXPENSES

JJ. TOTAL AMT. APFROVED

 

approved lo exccsl ol'the statutory threshold ,\rnuun .

 

34. SIGNATURE OF CHIEF JUDGE, COURT O}"` APP EALS (OR DELEGATE) Payment

DATI".

 

 

34l. J`UDGE CODE

 

 

 

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 120 in
case 2:02-CR-20027 Was distributed by faX, mail, or direct printing on
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Linda N. Harris

U.S. ATTORNEY'S OFFICE
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Ste. 800

i\/lcmphis7 TN 38103

Honorablc J. Breen
US DISTRICT COURT

